Case 5:19-cv-04012-HLT Document 60-1 Filed 06/23/20 Page 1 of 3

EXHIBIT 1
Case 5:19-cv-04012-HLT Document 60-1 Filed 06/23/20 Page 2 of 3

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

LESLIE J. REYNARD,

Plaintiff,
V. Case No. 5:19-CV-04012-HLT-TJJ

WASHBURN UNIVERSITY OF TOPEKA,

Defendant.

DECLARATION OF LESLIE REYNARD

1. My name is Leslie Reynard. I am 73 years old.

2. Ihave chronic-acute Epstein Barr virus, fibromyalgia, probable myalgic
encephalomyelitis (chronic fatigue syndrome), complex migraine/ probable reversible
cerebral vascular syndrome (RCVS), erosive esophagitis, and deteriorating vision in
my left eye (which will require surgery) which makes driving dangerous. All of these

physical conditions, other than the failing vision, result in a weakened, compromised

immune system.
3. My husband is 71 years old.

4. My husband is currently undergoing chemotherapy for aggressive inoperable stage

four cancer.
5. Iam my husband’s sole Caregiver.

6. Since mid-March, we have significantly limited our contact with others.
Case 5:19-cv-04012-HLT Document 60-1 Filed 06/23/20 Page 3 of 3

7. [have improved the wifi signal in my home and am confident I could be available for

a videoconference deposition.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

June 23, 2020

/s/ Leslie J. Reynard
Leslie J. Reynard

